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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT

POPTECH, LP                                                 :
                                                            :
                     Plaintiff,                             :   CIVIL NO. 3:10-CV-00967 (MRK)
                                                            :
V.                                                          :
                                                            :
STEWARDSHIP CREDIT ARBITRAGE FUND,                          :
LLC, ET AL.                                                 :
                                                            :
                     Defendants.                            :   FEBRUARY 14, 2011

                                  RENEWED MOTION TO DISMISS

        The defendant, Gustav E. Escher, III (“Escher”), respectfully renews his October 15,

2010, Motion to Dismiss the plaintiff’s complaint against him. [Dkt. 35.] The December 13,

2010, “Amended Class Action Complaint” fails to cure the principal defect that Escher identified

in his initial motion, namely, that the plaintiff has failed to plead with the particularity required

by Rule 9(b) a claim of aiding and abetting a violation of the Connecticut Uniform Securities

Act, Conn. Gen. Stat. §36b-29 (“CUSA”).1 Because the plaintiff was given the opportunity to

correct this pleading defect and still has failed to do so, the Amended Complaint should be

dismissed with prejudice as to Escher. In further support of this motion, Escher states as follows:

        1.       As permitted by the Court in its order concerning renewed motions to dismiss

[Dkt. 41], Escher incorporates by reference the following parts of his October 15, 2010,

Memorandum of Law in Support of Motion to Dismiss [Dkt. 35-1]: page 1 through the first

paragraph ending on page 3; Part II.A through the first paragraph ending on page 5; Part III.A.1;

and all of Parts III.B. and III.C.        Additionally, Escher incorporates by reference the PPM



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         The Amended Complaint contains only a single, direct claim against Escher—aiding and abetting a CUSA
violation—whereas the original Complaint contained this claim as well as numerous state law derivative claims,
which are not included in the Amended Complaint.
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attached as Exhibit A to his October 15, 2010, Memorandum, and the references thereto

contained in the incorporated sections above.

       2.       Although the plaintiff’s theory in the Amended Complaint’s aiding and abetting

claim against Escher remains substantially similar—that Escher was not “independent”—

plaintiff has sprinkled in some new factual allegations against Escher in the Amended

Complaint. Accordingly, to assist the Court in finding the scant references to Escher in the

eighty-five page Amended Complaint, the following listing of all references to Escher is

provided:

   •   On page 5, at ¶5, Escher is identified as the “Independent Manager.” The Amended
       Complaint alleges that Escher was a friend of Marlon Quan and had a conflict of interest
       because he was on the board of directors of an offshore fund controlled by Quan and
       another non-party entity called Livingston Acres, LLC, allegedly a subsidiary of the Fund
       formed after Escher’s service as Independent Manager began. (Am. Compl., ¶18 & n.1.)
       It is conclusorily alleged that Escher “never engaged in any independent evaluation or
       investigation of any transaction between Acorn and the Fund. Indeed, upon information
       and belief, Escher never challenged or voiced any objection to any transaction foisted on
       the Fund by Acorn.” (Am. Compl., ¶5 (emphasis added).)

   •   On page 7, at ¶9, it is alleged that a tribunal in Bermuda rejected Escher’s testimony and
       legal arguments concerning alleged fraud by Petters in connection with the so-called
       “Off-Shore Fund,” which is not a party to this action.

   •   Paragraph 22 provides background information about Escher, including the fact that he
       was employed as a Vice President by PNC Bank in New Jersey during the Class Period.
       It then alleges that Escher formerly was a colleague of Quan’s at another company
       (although when is not stated). It goes on to state the PPM’s definition of independence in
       the context of the Independent Manager’s role, that he is “neither affiliated with nor has a
       direct or indirect material interest in any transaction of the [Fund], Acorn, Mr. Quan or
       any affiliate or service provider of the foregoing . . . and that [he was] qualified to
       evaluate any transaction between Acorn and the [Fund].” It is then alleged that Escher
       became “affiliated” with two “affiliates” of the Fund by serving on their boards of
       directors during the Class Period.

   •   Paragraph 127, starting at page 67, alleges that the PPMs provided to prospective
       investors disclosed that Escher was to be paid a “customary” fee for his services as
       Independent Manager, and that the Fund in fact paid Escher that fee. (See Exhibit A to
       Escher’s initial Memorandum of Law at p. 29 (“Independent Manager shall receive a
       customary fee, together with any reasonable and necessary expenses, payable as an
       expense of the Company, for any work for the Company.”)


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    •   On page 72, paragraph 135 alleges, in connection with a claim that the Fund, Advisors,
        and Acorn were alter egos of one another, that certain unidentified former employees of
        Acorn, Advisors, and/or the Fund either did not know Escher or did not understand his
        role.

The above summary represents the entirety of the allegations of fact concerning Escher in the

Amended Complaint.2 He is mentioned in six of 136 paragraphs of factual allegations.

        3.       Count IV contains the legal claim against Escher for aiding and abetting CUSA

violations by the Fund, Acorn, Advisors, and Quan. It alleges, at paragraph 167, that Escher

acted as Independent Manager, creating the appearance that the disclosed conflicts of interest

between Advisors, Acorn and Quan had been ameliorated or eliminated. It goes on to allege

that, by virtue of his service on the board of alleged affiliates of the Fund, Escher “was not

disinterested and did not exercise any independence with regard to the review and/or approval of

any proposed sale of a note or loan from Acorn to the Fund.” In the following two paragraphs, it

is conclusorily alleged that Escher knew or should have known of the alleged fraud, and Escher

therefore aided and abetted CUSA violations.

        4.       To summarize the arguments already incorporated by reference, the Amended

Complaint fails to plead with particularity any facts supporting the elements of a claim of aiding

and abetting a CUSA violation. Even assuming the Amended Complaint states a primary

violation of CUSA against other defendants (without which the aiding and abetting claim against

Escher necessarily fails), the Amended Complaint falls woefully short of meeting the

requirements of Rule 9(b).           Although the Amended Complaint alleges that Escher became

unqualified to serve as Independent Manager (albeit in a defective, conclusory fashion), it is

devoid of any facts about what Escher supposedly did to provide “material assistance” to the


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         There are some additional allegations referring to “the Defendants” as a whole, including in paragraphs 6 –
8, 71 – 72, 74, 88 – 89, 95, and 112. None of these paragraphs mentions Escher by name or alleges conduct by him
or the Independent Manager.


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alleged securities fraud committed by the primary violator(s), how his alleged conduct (whatever

it may have been) was of material assistance in the offer or sale of securities, or how Escher, a

full-time executive at another company fulfilling a specific role for the Fund, knew or should

have known of the alleged untruths or omissions by the alleged primary violators. There are no

particularized allegations of fact to meet any of these requirements. Even under the most

generous interpretation of the Amended Complaint, it alleges nothing more than a friendship

between Quan and Escher. Even if true, this bears no nexus to the Amended Complaint’s alleged

securities violations, or how Escher aided and abetted them. The Amended Complaint, like the

original, fails to state a claim upon which relief can be granted.

       WHEREFORE, for the foregoing reasons, the defendant, Gustav E. Escher, III,

respectfully renews his Motion to Dismiss and requests that the Court dismiss the claim against

him with prejudice.

                                              DEFENDANT
                                              GUSTAV E. ESCHER, III



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                                       CERTIFICATION

       This is to certify that a copy of the foregoing was filed electronically on this 14th day of

February, 2011. Notice of this filing shall be sent by E-mail to all parties by operation of the

Court’s electronic filing system and parties may access this filing through the Court’s system.


                                               /S/ Theodore J. Tucci
                                              Theodore J. Tucci




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